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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )            Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )


                    RESPONSE TO COURT’S DECEMBER 22, 2017 ORDER

       This response is submitted in connection with the Court’s Minute Order, dated December

22, 2017 (“December 22 Order”), which requires that Mr. Gates show cause why the Court

should not find that

       his reported personal participation in the creation of a fundraising video to be shown to
       journalists and disseminated on social media, in which, according to multiple press
       accounts, defendant makes reference to "the cause" and the goal of "ensuring that our
       supporters from across the United States hear our message and stand with us," would not
       violate this Court's order [38] of November 8, 2017. Defendant must also explain the
       nature of his relationship, if any, with Jack Burkman, who reportedly publicly
       characterized the prosecution as " very unfair" at a December 19, 2017 fundraising event
       to which journalists were invited, and indicate whether Burkman's comments are being
       made at his direction or the direction of his counsel. The Court emphasizes that it is not
       intimating that the creation of a legal defense fund or the expression of personal views by
       third parties not acting at the behest of the defense would violate its order.

       As explained below, in creating the video to which the December 22 Order refers, Mr.

Gates fully complied with the Court’s November 8, 2017, Order (“November 8 Order”),

directing “All interested participants in the matter, including the parties, any potential witnesses,

and counsel for the parties and the witnesses, are hereby ORDERED to refrain from making

statements to the media or in public settings that pose a substantial likelihood of material

prejudice to this case.” See ECF # 38 (emphasis added).
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       Mr. Gates submits that he did not violate the Court’s November 8 Order. He simply

thanked those involved in the fundraiser for their participation and made it clear that he could not

comment on his pending case. Further, any comments that the event organizer, Mr. Jack

Burkman, made were his own personal opinions and were in no way made at the direction of Mr.

Gates or his legal counsel.

                                      I.      BACKGROUND

       Six days before Christmas, on Tuesday, December 19, 2017, Mr. Jack Burkman hosted a

fundraiser in Virginia to raise money for Mr. Gates’s legal defense, which unquestionably is

going to be very costly. As the Court aptly acknowledged, its November 8 Order did not

prohibit the creation of a legal defense fund to help defray the costs of Mr. Gates’s legal defense.

       Understandably, Mr. Gates was very appreciative to Mr. Burkman for hosting the event

and thankful that others would take time out of their busy holiday schedules and family

obligations to learn about and contribute to his legal defense fund. Mr. Gates wished he could

thank everyone in person but knew that would not be possible. Even so, he wanted to express his

heartfelt gratitude to those who organized and participated in the fundraiser, especially in the

days just before Christmas. It is a humbling task to ask others for support and financial

resources, and given Mr. Gates’s continued home confinement, the video was the only

mechanism at his disposal at that time to express his gratitude to both donors and supporters of

his legal defense.

       Mr. Gates proceeded to tape the brief 1 minute and 14 second video from his home,

thanking the fundraiser participants and organizers, which he believed was the right and gracious

thing to do (video referred to herein as the “Thank You Video”). The Thank You Video was

pre-taped and then aired at the fundraising event. In the video, Mr. Gates specifically informed



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viewers that he could not talk about the case because there as a “gag order on the case.” See

Transcript of Thank You Video, attached as Exhibit 1 hereto. Nowhere in the video does Mr.

Gates discuss his case. Rather, Mr. Gates spent the limited time that he had to extend a warm

holiday greeting that gave thanks to his supporters and, on behalf of himself and his family,

wished everyone a “Merry Christmas.”

                                        II.     DISCUSSION

       A.      Mr. Gates’s Expression of Gratitude in the Thank You Video was Consistent with
               the Court’s November 8 Order.

       Mr. Gates submits that he did not violate the Court’s November 8 Order by creating the

Thank You Video. To the extent the Court questions Mr. Gates’s general use of the wording

“cause” and “ensuring that supporters from across the United States hear our message and stand

with us,” the wording simply referred to his ability to raise resources sufficient to permit him and

his legal team to stand up to the overwhelming resources of the Special Counsel’s Office, which

has an army of top government prosecutors, and defend himself with vigor throughout the legal

process and in the courtroom consistently with his constitutional rights. By “supporters” who

“stand with us,” Mr. Gates was only referring to those throughout the United States who are

willing to contribute to help defray the costs of a defense necessary to adequately defend himself

in the Courtroom against the prosecutorial team arrayed against him. Nothing more was

intended by Mr. Gates.

       The Court’s November 8 Order mandates that the parties refrain from making statements

to the media or in public settings that pose a substantial likelihood of material prejudice to the

case. Mr. Gates’s participation in the Thank You Video which contains expressions of gratitude

and general references to those who support his defense, poses no “substantial likelihood of

material prejudice to the case.” He does not comment on the details of the case anywhere in the

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video. Certainly Mr. Gates should be able to thank his supporters and donors and to refer to his

supporters as those who “stand with” him or support his “cause,” consistent with his free

speech rights, and without fear of violating the November 8 Order. As the Supreme Court noted

in the case cited in the Court’s November Order, “[t]he ‘substantial likelihood’ test . . . was

designed to protect the integrity and fairness of a . . . judicial system, and it imposes only narrow

and necessary limitations on . . . speech.” Gentile v. State Bar of Nevada, 501 U.S. 1030, 1075

(1991) (emphasis added).

        Mr. Gates submits that nothing about his participation in the Thank You Video, including

the statements that he made therein, poses a substantial likelihood of material prejudice to the

case.

        As a final matter, Mr. Gates anticipates that there will be more fundraisers in the future,

which will require similar sentiments of gratitude. To avoid incurring additional legal expense to

explain his expressions of gratitude, Mr. Gates welcomes any guidance that the Court may

provide in this regard.

               B.         Mr. Burkman Organized the Fundraising Event and Any Views He
                          Expressed Were his Personal Opinion.

        In response to the Court’s Order that he explain the nature of his relationship with Mr.

Burkman, Mr. Gates informs the Court that while he knows him (but has not physically met with

him), Mr. Burkman is not and never has been a representative or spokesperson for Mr. Gates.1

This is evident by the fact that Mr. Gates thanked attendees through a pre-taped video (instead of


1
  Mr. Gates has not authorized anyone other than his legal counsel to represent or speak on his
behalf about his case. Consistent with the November 8 Order, Mr. Gates’s legal counsel has not
made any statements to the press about Mr. Gates’s case, despite regular requests for comment
and despite inaccurate media reports that have been widely distributed over the Internet. As the
Court has recognized, there are often inaccurate portrayal of events in the media and the parties’
inability to counter the inaccuracies is in part due to the November 8 Order.
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having Mr. Burkman speak for him) and the fact that Mr. Burkman, according to press reports,

specifically informed attendees that his view of the case was his personal opinion. See Neil W.

McCabe, “Jack Burkman hosts fundraiser for Manafort associate Rick Gates,” BIG LEAGUE

POLITICS (Dec. 20, 2017), https://bigleaguepolitics.com/jack-burkman-hosts-fundraiser-

manafort-associate-rick-gates/ (reporting that Mr. Burkman prefaced his remarks at the

fundraiser with the following quote, “I don’t want to get too political, but my personal beliefs

are that our good friend Rick is really the victim of an unfair prosecution.” (Emphasis added))

(Thank You Video can also be viewed at this URL).

       Any statements expressed by Mr. Burkman2, or anyone else at the fundraiser for that

matter, about their personal views of this prosecution were not at Mr. Gates’s behest nor solicited

by him or any member of his legal team. The comments attributed to Mr. Burkman in the

December 22 Order were completely his own, were expressly couched as his personal opinion,

and were not made at the direction of Mr. Gates or his legal team. In Mr. Gates’s view, which is

consistent with the Court’s December 22 and November 8 Orders, Mr. Burkman and any other

private individual is entitled to make whatever personal comments they wish to make about the

current prosecution consistent with their First Amendment Rights.

       Finally, Mr. Gates submits that all statements to be made reflecting his legal position or

defenses have been and will continue to be reserved for the Courtroom and the Courtroom only

and in alignment with his obligations to the Court.




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  As Mr. Gates was not present at the fundraiser and Mr. Burkman did not inform Mr. Gates of
any opinions he would be expressing about this case at the fundraiser, he does not have firsthand
knowledge of the statements attributed to Mr. Burkman in the December 22 Order. In addition,
for the record, Mr. Gates did not talk to the press in any capacity in relation to the fundraiser.
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                                        CONCLUSION

       Mr. Gates respectfully submits that he has abided by the Court’s November 8, 2017,

Order and requests that the Court so find.



                                             _/s/Shanlon Wu_______________
                                             Shanlon Wu
                                             D.C. Bar No. 422910
                                             Wu, Grohovsky & Whipple, PLLC
                                             Ronald Reagan Building and International
                                             Trade Center
                                             1300 Pennsylvania Avenue, NW, Suite 700
                                             Washington, DC 20004
                                             swu@dcwhitecollar.com
                                             202-204-3053 (Telephone)
                                             202-747-7518 (Facsimile)

                                             Walter Mack
                                             Admitted Pro Hac Vice
                                             Doar Rieck Kaley & Mack
                                             217 Broadway, Suite 707
                                             New York, NY 10007-2911
                                             212-619-3730 (Telephone)
                                             212-962-5037 (Facsimile)

                                             Annemarie McAvoy
                                             Admitted Pro Hac Vice
                                             McAvoy Consulting, LLC
                                             mcavoypc@rocketmail.com
                                             917-750-8131 (Telephone)

                                             Attorneys for Richard W. Gates III




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